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10   ATTORNEYS FOR PLAINTIFF/COUNTEDEFENDANTS
     Everlight Electronics Co., Ltd. and
11   Everlight Americas, Inc.
12                                 UNITED STATES DISTRICT COURT
13                                NORTHERN DISTRICT OF CALIFORNIA
14                                        OAKLAND DIVISION
15   EVERLIGHT ELECTRONICS CO., LTD.,            Case Number: 4:17-cv-3363-JSW
16                   Plaintiff,                  REQUEST FOR JUDICIAL NOTICE IN
                                                 SUPPORT OF PLAINTIFF EVERLIGHT
17          v.                                   ELECTRONICS CO., LTD’S RESPONSE
                                                 TO DEFENDANT’S MOTION TO
18   BRIDGELUX, INC.,                            DISMISS
19                   Defendant.
                                                 [FILED CONCURRENTLY WITH EVERLIGHT’S
20                                               RESPONSE TO MOTION TO DISMISS]
     BRIDGELUX, INC.,
21                                               Date:    February 2, 2018
                     Counterclaimant,            Time:    9:00 a.m.
22                                               Dept:    Courtroom 5
            v.                                   Judge:   Hon. Jeffrey S. White
23
     EVERLIGHT ELECTRONICS CO., LTD.
24   AND EVERLIGHT AMERICAS, INC.,
25                   Counterdefendants.
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                                                                       Case No. 4:17-cv-3633 JSW
     REQUEST FOR JUDICIAL NOTICE ISO PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS
                                                                                         14086957.1
          Case 4:17-cv-03363-JSW Document 96-3 Filed 01/16/18 Page 2 of 3



 1   TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:

 2          PLEASE TAKE NOTICE that pursuant to Federal Rules of Evidence section 201 and Lee

 3   v. City of Los Angeles, 250 F.3d 668, 688-690 (9th Cir. 2001), Plaintiff Everlight Electronics Co., Ltd.

 4   (“Everlight”) requests that the Court take judicial notice of the following documents, true and correct

 5   copies of which are attached as Exhibits B-K to the Declaration of Li Chen in Support of Everlight’s

 6   Response to Defendant’s Motion to Dismiss.

 7          EXHIBIT B: United States Patent and Trademark Office (“USPTO”) recordation of the

 8                          Patent Assignment from Gentex Corp. to Everlight Electronics Co., Ltd.

 9                          available at Reel No. 042732, Frame Nos. 0285 – 0290.

10          EXHIBIT C: USPTO recordation of a redacted copy of the Assignment Agreement between

11                          Gentex Corp. and Everlight Electronics Co., Ltd. available at Reel No. 043096,

12                          Frame Nos. 0522 – 0543.

13          EXHIBIT D: USPTO Patent Assignment Search results for U.S. Pat. No. 6,335,548 showing

14                          the recordation of an assignment of assignor’s interest at Reel No. 042732,

15                          Frame No. 0285 and Reel No. 043096, Frame No. 0522.

16          EXHIBIT E: USPTO Patent Assignment Search results for U.S. Pat. No. 7,253,448 showing

17                          the recordation of an assignment of assignor’s interest at Reel No. 042732,

18                          Frame No. 0285 and Reel No. 043096, Frame No. 0522.

19          EXHIBIT F: U.S. Patent No. 9,006,765 B2, stemming from U.S. Patent Application No.

20                          13/959,556 and showing Bridgelux, Inc. as the assignee.

21          EXHIBIT G: Office Action of June 17, 2014, concerning Bridgelux’s U.S. Patent

22                          Application No. 13/959,556, and sent to the law firm of Arent Fox, LLP,

23                          Bridgelux’s prosecution counsel and counsel in this case.

24          EXHIBIT H: U.S. Patent No. 8,084,777 B2, stemming from U.S. Patent Application No.

25                          12/410,208 and showing Bridgelux, Inc. as the assignee.

26          EXHIBIT I:      Information Disclosure Statement by Applicant during prosecution of

27                          Application No. 12/410,208, filed with the United States Patent and Trademark

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                                                      -1-                         Case No. 4:17-cv-3633 JSW
     REQUEST FOR JUDICIAL NOTICE ISO PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS
                                                                                                     14086957.1
         Case 4:17-cv-03363-JSW Document 96-3 Filed 01/16/18 Page 3 of 3



 1                       Office on March 24, 2009, disclosing Patent Application Publication US 2002-

 2                       0004251 A1 to Roberts et al.

 3         EXHIBIT J:    Power of Attorney from Assignee executed by Bridgelux, Inc. designating Mr.

 4                       Craig Gelfound as its counsel of record to prosecute U.S. Patent Application

 5                       No. 12/410,208.

 6         EXHIBIT K: U.S. Patent Application Publication No. US 2002/0004251 A1 to Roberts et

 7                       al.

 8

 9   Date: January 16, 2018                        Respectfully submitted,

10                                                 HANSON BRIDGETT LLP
11

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19                                                 Everlight Electronics Co., Ltd. and
                                                   Everlight Americas, Inc.
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